               Case: 1:20-cr-00263 Document #: 1 Filed: 06/03/20 Page 1 of 7 PageID #:1

 AO 91 (Rev. 11/11) Criminal Complaint
                                         UNITED STATES DISTRICT COURT
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                                                                             AUSA Misty N. Wright (312) 886-2061
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                                         NORTHERN DISTRICT OF ILLINOIS
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                                              EASTERN DIVISION                      THOMA.SDG
                                                                                            IS T R IC T COURT
                                                                                 CLERK, U.S
 UNITED STATES OF AMERICA
                                                        CASE NUMBER:         20 CR 263
                         v.

 JOSEPH HAMMOND

                                             CRIMINAL COMPLAINT

       I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about June 3, 2020, at Chicago, in the Northern District of Illinois, Eastern Division, the defendant(s)
violated:
      Code Section                                    Offense Description
      Title 18, United States Code, Section           knowing that he had previously been convicted of a
      922(g)(1)                                       crime punishable by a term of imprisonment
                                                      exceeding one year, did knowingly possess, in and
                                                      affecting interstate and foreign commerce, a firearm,
                                                      namely, a loaded Glock, Model 20, 10mm semi-
                                                      automatic pistol, bearing serial number BDMW734,
                                                      which firearm had traveled in interstate and foreign
                                                      commerce prior to defendant’s possession of the
                                                      firearm

    This criminal complaint is based upon these facts:
                                                                              Digitally signed by Christopher
      X     Continued on the attached sheet.               Christopher J.     J. Labno

                                                           Labno              Date: 2020.06.03 11:26:25
                                                                              -04'00'

                                                           CHRISTOPHER J. LABNO
                                                           Special Agent, Bureau of Alcohol, Tobacco,
                                                           Firearms & Explosives (ATF)

Pursuant to Fed. R. Crim. P. 4.1, this complaint is presented by reliable electronic means. The above-named
agent provided a sworn statement attesting to the truth of the foregoing affidavit by telephone.

 Date: June 3, 2020
                                                                          Judge’s signature

 City and state: Chicago, Illinois                      GARY S. FEINERMAN, U.S. District Judge
                                                                    Printed name and title
      Case: 1:20-cr-00263 Document #: 1 Filed: 06/03/20 Page 2 of 7 PageID #:2




 UNITED STATES DISTRICT COURT

 NORTHERN DISTRICT OF ILLINOIS

                                     AFFIDAVIT

      I, Christopher J. Labno, being duly sworn, state as follows:

      1.     I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (“ATF”) and have been so employed since approximately 2001. I am

currently assigned to the Chicago Field Office, Organized Crime Drug Enforcement

Task Force—Chicago I Enforcement Group. My responsibilities include the

investigation of violations of law as they relate to federal firearms offenses, including

the unlawful possession of firearms or ammunition by convicted felons, firearms

trafficking, violent crime, and narcotics trafficking. I employ investigative tools such

as the use of informants and witnesses, surveillance, controlled purchases of firearms

and narcotics, firearms traces, telephone toll analysis, and the execution of both

search warrants and arrests warrants.

      2.     This affidavit is submitted in support of a criminal complaint alleging

that Joseph HAMMOND has violated Title 18, United States Code, Section 922(g)(1).

Because this affidavit is being submitted for the limited purpose of establishing

probable cause in support of a criminal complaint charging HAMMOND with

unlawful possession of a firearm by a felon, I have not included each and every fact

known to me concerning this investigation. I have set forth only the facts that I

believe are necessary to establish probable cause to believe that the defendant

committed the offense alleged in the complaint.
      Case: 1:20-cr-00263 Document #: 1 Filed: 06/03/20 Page 3 of 7 PageID #:3




      3.     This affidavit is based on my personal observations, my training and

experience, and information provided to me by other law enforcement agents.

I.    FACTS SUPPORTING PROBABLE CAUSE

      A.     HAMMOND’s Possession of a Firearm

      4.     On the night of June 2, into the morning of June 3, 2020, I and other

ATF Special Agents and Task Force Officers were assisting the Chicago Police

Department in the 7th District, a neighborhood known as Englewood.

      5.     At approximately 12:02 a.m. on June 3, 2020, agents were monitoring

Zone 6 of Chicago Police Department police radio. Agents heard an emergency

broadcast message in response to a 911 call of a man with a gun holding a book bag

and a baby and shooting on the 900 west block of 68th Street, in Chicago. In addition,

agents were notified of a Shot Spotter activation indicating that three shots were fired

in the area, on the 6800 south block of Peoria Street.1

      6.     Agents relocated to the intersection of West 68th Street and South

Sangamon Street and observed a black male, with his hair worn in braids, wearing a

blue shirt and acid washed jeans standing on the northwest corner of this

intersection; this man was later identified in the course of his arrest as HAMMOND.

HAMMOND was standing with his hands at his side. Agents also observed that

HAMMOND had a toddler standing in front of him. Agents approached HAMMOND

in their vehicle in an attempt to conduct a field interview. Upon approach,



1 Based on my training and experience, I know that Shot Spotter is proprietary electronic
device which uses acoustical gunshot detection systems that detect and conveys the location
of gunfire in a geographical area.



                                            2
     Case: 1:20-cr-00263 Document #: 1 Filed: 06/03/20 Page 4 of 7 PageID #:4




HAMMOND raised his hand from his side and pointed a black semiautomatic

handgun with an extended magazine at one of the agents’ faces and said, “Keep

moving.” Agents moved their car out of the line of fire and attempted to pursue

HAMMOND north on Sangamon as HAMMOND picked up the child and ran.

Additional agents joined the pursuit but lost sight of HAMMOND as he ran between

several houses westbound.

      7.    Agents canvassed the area and attempted to conduct a systematic

search of the surrounding blocks with no success. Agents asked several citizens on

the street about HAMMOND’s whereabouts, and one told agents to “just look on

Morgan,” which agents understood to mean Morgan Street, the north-south street

directly west of Sangamon Street. At approximately 12:26 a.m., agents discontinued

the search on Sangamon Street and began touring the area surrounding this location

in an attempt to locate HAMMOND and the toddler.

      8.    At approximately 12:47 am, agents observed HAMMOND walking

westbound on West 68th Street toward South Morgan Street. He was wearing the

same clothing and a backpack and carrying the toddler and another small backpack.

Agents drove their vehicle toward HAMMOND, stopped near him, exited their vehicle

and announced their office as “Police.” HAMMOND began to reach into the backpack

he was carrying. Agents ordered HAMMOND to “Stop,” and “Show me your hands!”

Agents then arrested HAMMOND.

      9.    In the course of the arrest, agents removed the backpack from

HAMMOND’s hands and observed that the bag was open and that the extended




                                        3
      Case: 1:20-cr-00263 Document #: 1 Filed: 06/03/20 Page 5 of 7 PageID #:5




magazine and pistol grip of a firearm was visible. Agents recovered the firearm, which

was a loaded Glock, Model 20, 10mm semiautomatic pistol, bearing serial number

BDMW734. Agents made the firearm safe and observed that the extended magazine

was loaded with 19 live rounds of 10mm ammunition, with 1 live round of

ammunition loaded in the chamber ready to fire. The following are photographs of

the firearm:




      10.      As agents arranged to have the child’s mother retrieve the toddler,

HAMMOND made several spontaneous statements apologizing to agents indicating

that he was unaware that agents were law enforcement officers. All agents were

wearing ballistic vests emblazoned with the word “Police” and depictions of law

enforcement badges. Agents then transported HAMMOND to a CPD facility for

processing and subsequently to the Metropolitan Correctional Center.




                                          4
      Case: 1:20-cr-00263 Document #: 1 Filed: 06/03/20 Page 6 of 7 PageID #:6




      B.     HAMMOND’s Criminal History

      11.    According to HAMMOND’s criminal history records, which I reviewed,

on May 17, 2005, HAMMOND was convicted of aggravated unlawful use of a firearm

(case number 04CR23128) in the Circuit Court of Cook County and sentenced to 18

months’ imprisonment; on November 21, 2006, HAMMOND was convicted of

attempted first degree murder (case number 06CR1556201) in the Circuit Court of

Cook County and sentenced to 6 years’ imprisonment; on July 21, 2008, HAMMOND

was convicted of the offense of aggravated battery of a police officer (case number

08CR0561701) in the Circuit Court of Cook County and sentenced to 3 years’

imprisonment; and on August 22, 2018, HAMMOND was convicted of felon in

possession of a firearm (case number 16CR1143601) in the Circuit Court of Cook

County and sentenced to 4 years’ imprisonment.

      C.     Interstate Nexus

      12.    I have received extensive training regarding the manufacture and origin

of firearms. Based upon my training and experience, I know that the Gun Control Act

of 1968 requires firearm manufacturers and importers to mark the frame or receiver

of a firearm with a country of origin if the firearm is not manufactured in the United

States and a city and state of the licensed importer that imported the firearm. An

examination of the above described firearm revealed that the markings “Made in

Austria,” “Glock, Inc,” and “Smyrna, GA” were engraved on the frame. In addition,

based upon my training and experience as an ATF Agent, I know that Glock, Inc does




                                          5
      Case: 1:20-cr-00263 Document #: 1 Filed: 06/03/20 Page 7 of 7 PageID #:7




not manufacture firearms in the state of Illinois, and that the firearm was

manufactured outside the state of Illinois.

      13.    Therefore, in order for the foregoing firearm to have been recovered in

Illinois, it had to have moved in interstate or foreign commerce.

                                    CONCLUSION

      14.    For all the reasons described above, there is probable cause to believe

that HAMMOND has committed a violation of Title 18, United States Code, Section

922(g)(1) (unlawful possession of a firearm by a felon).


                                        FURTHER AFFIANT SAYETH NOT.
                                        Christopher J.    Digitally signed by Christopher J.
                                                          Labno
                                        Labno             Date: 2020.06.03 11:19:58 -04'00'

                                        Christopher J. Labno
                                        Special Agent, Bureau of Alcohol, Tobacco,
                                        Firearms & Explosives


SUBSCRIBED AND SWORN to before me on June 3, 2020.


Honorable GARY S. FEINERMAN
United States District Judge




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